                Case 2:18-cr-00024-TLN Document 86 Filed 06/14/19 Page 1 of 3


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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:18-CR-0024-GEB
12                                Plaintiff,            STIPULATION AND (PROPOSED) ORDER
                                                        TO CONTINUE STATUS CONFERENCE AS
13                         v.                           TO DEFENDANTS ROBINS, BURKS, AND
                                                        MARKANSON
14   DONTE ROBINS,
     ISAIAH BURKS,                                      Date:    June 14, 2019
15   RAYSHAWN WRAY, and                                 Time:    9:00 a.m.
     JOSHUA MARKANSON,                                  Judge:   Hon. Garland E. Burrell, Jr.
16
                                 Defendants.
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19          The United States of America, through its undersigned counsel, and defendants Donte Robins,

20 Isaiah Burks, and Joshua Markanson,1 through their counsel of record, stipulate that the status conference
21 currently set for June 14, 2019, be continued to August 16, 2019, at 9:00 a.m.

22          In March 2018, Mr. Robins and Mr. Markanson were arraigned on the nine-count Superseding

23 Indictment. (ECF Nos. 15, 21, 22.) Mr. Burks and Mr. Wray were arraigned separately, in May and

24 November 2018, respectively. (ECF Nos. 37, 64.) The government has produced discovery to defense

25 counsel that includes 139 pages of written materials and roughly 130 photos, as well as fifteen compact

26 disks containing dozens of audio and video files.
27
            1
28            Please note: defendant Rayshawn Wray is asking to appear as scheduled for the June 14, 2019
     status hearing.
       STIPULATION AND (PROPOSED) ORDER              1
30    TO CONTINUE STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 86 Filed 06/14/19 Page 2 of 3


 1          In the coming weeks, the government anticipates producing additional discovery to all defense

 2 counsel, with documents potentially relevant to each defendant under Brady v. Maryland, 373 U.S. 83

 3 (1963), and Giglio v. United States, 405 U.S. 150 (1972). Defense counsel will require time to review

 4 these new materials, as well as the materials already produced, time to conduct research and

 5 investigation about the charged offenses and potential defenses, and time to otherwise prepare for trial.

 6          Last, the parties are coordinating a time for defense counsel to inspect the physical evidence

 7 collected in this case.

 8          Based on the foregoing, defendants Robins, Burks, and Markanson (through counsel) stipulate

 9 that the status conference currently set for June 14, 2019, be continued to August 16, 2019, at 9:00 a.m.
10 The parties further agree that time under the Speedy Trial Act should be excluded from the date the

11 parties stipulated, up to and including August 16, 2019, under 18 U.S.C. § 3161(h)(7)(A) and (B)(iv)

12 [reasonable time to prepare], and General Order 479 [Local Code T4], based on continuity of counsel and

13 defense preparation.

14          The parties agree that the failure to grant a continuance in this case would deny defense counsel

15 reasonable time necessary for effective preparation, taking into account the exercise of due diligence.

16 The parties also agree that the ends of justice served by the Court granting the requested continuance

17 outweigh the best interests of the public and the defendants in a speedy trial.

18                                                       Respectfully submitted,

19 Dated: June 13, 2019                                  _/s/ Timothy H. Delgado___________
                                                         TIMOTHY H. DELGADO
20
                                                         Assistant United States Attorney
21                                                       Attorney for Plaintiff United States

22 Dated: June 13, 2019                                  _/s/ THD for Linda C. Allison_______
                                                         LINDA C. ALLISON
23                                                       Assistant Federal Defender
                                                         Attorney for Defendant Donte Robins
24

25 Dated: June 13, 2019                                  _/s/ THD for Philip Cozens_________
                                                         PHILIP COZENS
26                                                       Attorney for Defendant Isaiah Burks

27
     Dated: June 13, 2019                                 _/s/ THD for Etan Zaitsu___________
28                                                        ETAN ZAITSU
                                                          Attorney for Defendant Joshua Markanson
      STIPULATION AND (PROPOSED) ORDER                   2
30    TO CONTINUE STATUS CONFERENCE
               Case 2:18-cr-00024-TLN Document 86 Filed 06/14/19 Page 3 of 3


 1                                                     ORDER

 2          The Court, having received and considered the parties’ stipulation, and good cause appearing

 3 therefore, adopts the parties’ stipulation in its entirety as its order. The Court specifically finds that the

 4 failure to grant a continuance in this case would deny counsel reasonable time necessary for effective

 5 preparation, taking into account the exercise of due diligence. The Court also finds that the ends of

 6 justice served by granting the requested continuance outweigh the best interests of the public and the

 7 defendant in a speedy trial.

 8          The Court orders that the time from the date the parties stipulated, up to and including August 16,

 9 2019, shall be excluded from computation of time within which the trial in this case must begin under
10 the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) [reasonable time to prepare], and General

11 Order 479 [Local Code T4]. It is further ordered that the June 14, 2019 status conference be continued

12 until August 16, 2019, at 9:00 a.m.

13
            Dated: June 13, 2019
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      STIPULATION AND (PROPOSED) ORDER                     3
30    TO CONTINUE STATUS CONFERENCE
